


  It is ordered and adjudged that this court does assume jurisdiction in deciding that it is discretionary for the trial judge to allow separate trials for those jointly indicted for the offense charged in the indictment therein, that the same applies to the remedy and manner of trial and the defendant George H. Beazell, plaintiff in error herein, has no vested right in the remedy or manner of trial provided by law, even though same may have been different at the date of the commission of the offense, and it is further ordered and adjudged that the record contains a constitutional question involving Section 10 of Article I of the Constitution of the United States of America, and this court having reviewed said question upon its merits, and all other errors assigned by the plaintiff in
   
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  error herein, does find that there is no error upon the record in said proceedings and judgment.
 

  It is, therefore, considered by the court that the judgment aforesaid of the Court of Appeals of Hamilton county, Ohio, be and the same hereby is affirmed.
 


   Judgment affirmed.
  


  Marshall, C. J., Jones, Matthias, Day, Allen and Conn, JJ., concur.
 
